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                       Exhibit 11
                    Case 1:21-mc-00793-PGG Document 4-11 Filed 10/27/21 Page 2 of 13




              1   MCDERMOTT WILL & EMERY LLP
                  William P. Donovan, Jr. (SBN 155881)
              2   wdonovan@mwe.com
                  2049 Century Park East
              3   Suite 3200
                  Los Angeles, CA 90067-3206
              4   Telephone: + 1 310 277 4110
                  Facsimile: +1 310 277 4730
              5
                  Attorneysfor Non-Party
              6   AVIS BUDGET GROUP, INC.
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              8
                                                   UNITED STATES DISTRICT COURT
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                                                  CENTRAL DISTRICT OF CALIFORNIA
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                                                               WESTERN DIVISION
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       ill          TUROINC.,                                          CASE NO. 2:18-CV-6055 CAS (GJSx)
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Ez                                                Plaintiff,           [Assigned For All Purposes to the
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             14                                                        Honorable Christina A. Snyder]
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             15                                                        NON-PARTY AVIS BUDGET GROUP,
                    CITY OF LOS ANGELES,                               INC.'S OBJECTIONS TO
             16                                                        SUBPOENA
                                                  Defendant.
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                    CITY OF LOS ANGELES, on its own
             19     behalf and on behalf of the People of
                    the State of California,
             20
                                      Counterclaim-Plaintiff,
             21
                             V.
             22
                    TURO INC., ERIC KWAN, ANDRAS
             23     SMULOVICS, and ANDREY
                    KORNAKOV D/B/A 101 CAR
             24     RENTAL,
             25                       Counterclaim-Defendants.
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                          NON-PARTY AVIS BUDGET GROUP'S OBJECTIONS TO SUBPOENA
                  DM_US 181309510-3.085863.0010
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              1             TO: Plaintiff/Counterclaim-Defendant Turo, Inc., ("Turo") by and through its
              2   attorneys Cooley LLP.
              3             Pursuant to Rule 45 of the Federal Rules of Civil Procedure Non-Party Avis
              4   Budget Group, Inc. ("ABG") provides the following objections to Turo's Subpoena
              5   in the above referenced matter.
              6                                      GENERAL STATEMENT
              7            ABG has not yet completed its investigation of all the facts relating to the
              8   Subpoena. Accordingly, the objections contained herein are based on such
              9   information that is presently available to and specifically known to ABG.
             10   Accordingly, ABG reserves the right, without assuming the obligation, to make
-,                changes to or otherwise amend these objections to the Subpoena.
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LI           12                                     GENERAL OBJECTIONS
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             13             1.       ABG objects to the Subpoena's Instructions and Definitions to the
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52                extent they exceed the scope of appropriate third-party discovery under the Federal
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~                 Rules of Civil Procedure, and render the requests vague and ambiguous, overbroad,
             15
             16   harassing and unduly burdensome.
             17            2.        ABG objects to the Subpoena to the extent that it seeks the production
             18   of documents or information that is unreasonably cumulative or duplicative.
             19            3.        ABG objects to the Subpoena to the extent that it purports to require
             20   ABG, a third party, to produce documents or information that are equally available to
             21   Turo and/or have not first and more appropriately been sought from other sources,
             22   including the parties to the litigation themselves.
             23            4.        ABG objects to the Subpoena to the extent it seeks the production of
             24   materials that are publicly available.
             25            5.        ABG objects to the Subpoena on the grounds that its requests are
             26   overbroad as to time and subject matter and would require ABG to conduct a time
             27   consuming and unduly burdensome search, which will cause ABG to incur
             28   significant expense and disruption. Furthermore, the Subpoena fails to compensate
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                          NON-PARTY AVIS BUDGET GROUP'S OBJECTIONS TO SUBPOENA
                  DM_US 181309510-3.085863.0010
                   Case 1:21-mc-00793-PGG Document 4-11 Filed 10/27/21 Page 4 of 13




             1   ABG for the time and expense required to respond to the overly broad and
             2   burdensome document requests.
             3             6.       ABG objects to the Subpoena to the extent it seeks production of
             4   documents protected by the attorney-client privilege, the work product doctrine, the
             5   joint defense privilege, Noerr-Pennington immunity, or any other applicable
             6   doctrines or privileges.
             7             7.       ABG objects to the Subpoena to the extent it calls for the production to
             8   a competitor of documents that contain trade secrets and/or other highly confidential
             9   commercial and financial information, impact privacy rights guaranteed by the
            10   California and United States Constitutions, and to the extent that the documents
,           11   sought by the Subpoena are subject to confidentiality agreements or obligations with
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            13             8.       ABG objects to the Subpoena's definitions ofYOU and YOUR insofar
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z           14   as they include "attorneys" and would require responses from or production of
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=           15   documents by ABG's attorneys. ABG objects to producing any communications,
            16   information, documents, or other materials within its attorneys' possession. The
            17   definition ofYOU and YOUR also includes "affiliates," "attorneys," "accountants,"
            18   "consultants," "representatives," and "agents," which likely includes persons beyond
            19   the control ofABG. Accordingly, and subject to these objections, ABG responds to
            20   the Subpoena on behalf ofABG and no other person or entity.
            21            9.        ABG objects to the Subpoena as overly broad, unduly burdensome and
            22   vague as to the definition of the term "PEER-TO-PEER CAR SHARING
            23   PROGRAM" to the extent such definition purports to include within its scope "any
            24   and all companies, organizations, associations, and other entities ... that facilitate
            25   the short-term use of vehicles owned by private individuals."
            26             10.      ABG objects to the Subpoena's definition of COMMUNICATION as
            27   vague, ambiguous, overbroad and renders compliance with the Subpoena unduly
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                         NON-PARTY AVIS BUDGET GROUP'S OBJECTIONS TO SUBPOENA
                 DM_US 181309510-3.085863.0010
                  Case 1:21-mc-00793-PGG Document 4-11 Filed 10/27/21 Page 5 of 13




            1   burdensome, particularly insofar as it purports to require any custodial email
            2   searches.
            3             11.      ABG objects to the Subpoena's definition of DOCUMENT as overbroad
            4   and renders compliance with the Subpoena unduly burdensome, particularly insofar
            5   as it purports to require any custodial email searches.
            6             12.      ABG objects to the Subpoena on the grounds that it is overly broad,
            7   unduly burdensome, harassing, and seeks the production of documents that are
            8   neither relevant to the subject matter of this litigation, nor reasonably calculated to
            9   lead to the discovery of admissible evidence to the extent that the Subpoena purports
           10   to involve matters other than Turo services at LAX.
g          11             13.      ABG objects to the Subpoena on the grounds that it is overly broad,
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LL,        12   unduly burdensome, harassing to the extent that it fails to set forth any limitation as
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           14             14.      ABG objects to the Subpoena to the extent that it calls for the search and
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           15   production of electronically stored information (ESI) that is not reasonably tailored
           16   to the needs of the above-captioned actions.
           17             15.      ABG objects to producing documents at the time and place requested by
           18   the propounding party.
           19             16.      ABG reserves all other objections. None ofABG' objections imply that
           20   responsive documents exist within its possession, custody, or control.
           21            Each of these General Objections applies to each response where appropriate
           22   and is incorporated into each ofABG' responses below as though set forth in full.
           23                                      SPECIFIC OBJECTIONS
           24   REQUEST FOR PRODUCTION NO. 1:
           25            All DOCUMENTS and COMMUNICATIONS CONCERNING YOUR
           26   CURBSIDE OPERATIONS at LAX, including but not limited to any partnerships
           27   with UBER or LYFT.
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                        NON-PARTY AVIS BUDGET GROUP'S OBJECTIONS TO SUBPOENA
                DM_US 181309510-3.085863.0010
                  Case 1:21-mc-00793-PGG Document 4-11 Filed 10/27/21 Page 6 of 13




            1   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
            2            ABG incorporates by reference each of its General Objections as though set
            3   forth in full herein. ABG objects to this Request on the grounds that it seeks from a
            4   competitor the production of documents that are highly confidential, proprietary,
            5   trade secrets and/or subject to third party rights of privacy. ABG objects to this
            6   Request as seeking information that is irrelevant to the instant lawsuit. The
            7   Complaint in this case specifically alleges that certain car rental companies (but not
            8   ABG) allegedly engaged in conduct harming Turo. See Complaint        at15-21.        ABG
            9   objects to this Request to the extent that it calls for documents and information
           10   protected by the attorney-client privilege, the work product doctrine, the common
s          11   interest doctrine, the joint defense privilege, Noerr-Pennington immunity, or any
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aE         12   other privileges, protections or doctrines of similar effect. ABG objects to this
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5$?        13   Request on the grounds that it is overly broad and unduly burdensome. ABG objects
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           14   to the definitions of "YOUR," on the grounds that it is vague, ambiguous, overly
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±          15   broad, and unduly burdensome. ABG is responding on behalf of itself and no other
           16   person or entity. ABG objects to this Request as unduly burdensome to the extent
           17   that it purports to require ABG, a third-party, to produce documents or information
           18   that could be sought from parties to the litigation. ABG objects to the term
           19   "CONCERNING" as overly broad, unduly burdensome, and vague. ABG objects to
           20   this Request as lacking foundation that ABG conducts any CURBSIDE
           21   OPERATIONS at LAX. ABG is a holding company and itself does not rent vehicles
           22   at or near LAX.
           23   REQUEST FOR PRODUCTION NO. 2:
           24            All AGREEMENTS between YOU and UBER CONCERNING car rentals
           25   offered at or near LAX.
           26   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
           27            ABG incorporates by reference each of its General Objections as though set
           28   forth in full herein. ABG objects to this Request on the grounds that it seeks from a
                                                            5
                        NON-PARTY AVIS BUDGET GROUP'S OBJECTIONS TO SUBPOENA
                DM_US 181309510-3.085863.0010
                   Case 1:21-mc-00793-PGG Document 4-11 Filed 10/27/21 Page 7 of 13




             1   competitor the production of documents that are highly confidential, proprietary,
             2   trade secrets and/or subject to third party rights of privacy. ABG objects to this
             3   Request as seeking information that is irrelevant to the instant lawsuit. The
             4   Complaint in this case specifically alleges that certain car rental companies (but not
             5   ABG) allegedly engaged in conduct harming Turo. See Complaint        at15-21.        ABG
             6   objects to this Request to the extent that it calls for documents and information
             7   protected by the attorney-client privilege, the work product doctrine, the common
             8   interest doctrine, the joint defense privilege, Noerr-Pennington immunity, or any
             9   other privileges, protections or doctrines of similar effect. ABG objects to this
            10   Request on the grounds that it is overly broad and unduly burdensome. ABG objects
,           11   to the definitions of "YOUR," on the grounds that it is vague, ambiguous, overly
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Ly          12   broad, and unduly burdensome. ABG is responding on behalf of itself and no other
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~ <         13   person or entity. ABG objects to the term "CONCERNING" as overly broad, unduly
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            14   burdensome, and vague. ABG is a holding company and itself does not rent vehicles
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>           15   at or near LAX.
            16   REQUEST FOR PRODUCTION NO. 3:
            17            All AGREEMENTS between YOU and LYFT CONCERNING car rentals
            18   offered at or near LAX.
            19   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
            20            ABG incorporates by reference each of its General Objections as though set
            21   forth in full herein. ABG objects to this Request on the grounds that it seeks from a
            22   competitor the production of documents that are highly confidential, proprietary,
            23   trade secrets and/or subject to third party rights of privacy. ABG objects to this
            24   Request as seeking information that is irrelevant to the instant lawsuit. The
            25   Complaint in this case specifically alleges that certain car rental companies (but not
            26   ABG) allegedly engaged in conduct harming Turo. See Complaint at 715-21. ABG
            27   objects to this Request to the extent that it calls for documents and information
            28   protected by the attorney-client privilege, the work product doctrine, the common
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                         NON-PARTY AVIS BUDGET GROUP'S OBJECTIONS TO SUBPOENA
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               1   interest doctrine, the joint defense privilege, Noerr-Pennington immunity, or any
               2   other privileges, protections or doctrines of similar effect. ABG objects to this
               3   Request on the grounds that it is overly broad and unduly burdensome. ABG objects
               4   to the definitions of "YOUR," on the grounds that it is vague, ambiguous, overly
               5   broad, and unduly burdensome. ABG is responding on behalf of itself and no other
               6   person or entity. ABG objects to this Request as unduly burdensome to the extent
               7   that it purports to require ABG, a third-party, to produce documents or information
               8   that have not been sought from other sources, including the parties to the litigation
               9   themselves. ABG objects to the term "CONCERNING" as overly broad, unduly
              10   burdensome, and vague. ABG is a holding company and itself does not rent vehicles
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l             11   at or near LAX.
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t.t-l         12   REQUEST FOR PRODUCTION NO. 4:
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              13            All COMMUNICATIONS between YOU and LAWA CONCERNING YOUR
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°"Lal         14   AGREEMENTS with TNCs to offer car rentals at or near LAX.
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              15   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:
              16            ABG incorporates by reference each of its General Objections as though set
              17   forth in full herein. ABG objects to this Request on the grounds that it seeks from a
              18   competitor the production of documents that are highly confidential, proprietary,
              19   trade secrets and/or subject to third party rights of privacy. ABG objects to this
              20   Request as seeking information that is irrelevant to the instant lawsuit. The
              21   Complaint in this case specifically alleges that certain car rental companies (but not
              22   ABG) allegedly engaged in conduct harming Turo. See Complaint at15-21. ABG
              23   objects to this Request to the extent that it calls for documents and information
              24   protected by the attorney-client privilege, the work product doctrine, the common
              25   interest doctrine, the joint defense privilege, Noerr-Pennington immunity, or any
              26   other privileges, protections or doctrines of similar effect. ABG objects to this
              27   Request on the grounds that it is overly broad and unduly burdensome. ABG objects
              28   to the definitions of "YOUR," on the grounds that it is vague, ambiguous, overly
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                           NON-PARTY AVIS BUDGET GROUP'S OBJECTIONS TO SUBPOENA
                   DM_US 181309510-3.085863.0010
                    Case 1:21-mc-00793-PGG Document 4-11 Filed 10/27/21 Page 9 of 13




              1   broad, and unduly burdensome. ABG is responding on behalf of itself and no other

              2   person or entity. ABG objects to this Request as unduly burdensome to the extent

              3   that it purports to require ABG, a third-party, to produce documents or information

              4   that could be sought from parties to the litigation. ABG objects to the term

              5   "CONCERNING" as overly broad, unduly burdensome, and vague. ABG is a

              6   holding company and itself does not rent vehicles at or near LAX.

              7   REQUEST FOR PRODUCTION NO. 5:
              8            All COMMUNI CATIONS between YOU and LAWA CONCERNING PEER-

              9   TO-PEER CAR SHARING PROGRAMS, including but not limited to TURO.

             10   RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
,            11            ABG incorporates by reference each of its General Objections as though set
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2-           12   forth in full herein. ABG objects to this Request on the grounds that it seeks from a
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:s:- ~~"'<   13   competitor the production of documents that are highly confidential, proprietary,
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             14   trade secrets and/or subject to third party rights of privacy. ABG objects to this
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             15   Request as seeking information that is irrelevant to the instant lawsuit. The

             16   Complaint in this case specifically alleges that certain car rental companies (but not

             17   ABG) allegedly engaged in conduct harming Turo. See Complaint at15-21. ABG

             18   objects to this Request to the extent that it calls for documents and information

             19   protected by the attorney-client privilege, the work product doctrine, the common

             20   interest doctrine, the joint defense privilege, Noerr-Pennington immunity, or any

             21   other privileges, protections or doctrines of similar effect. ABG objects to this

             22   Request on the grounds that it is overly broad and unduly burdensome. ABG objects

             23   to the definitions of "YOUR," on the grounds that it is vague, ambiguous, overly

             24   broad, and unduly burdensome. ABG is responding on behalf of itself and no other

             25   person or entity. ABG objects to this Request as unduly burdensome to the extent

             26   that it purports to require ABG, a third-party, to produce documents or information

             27   that could be sought from parties to the litigation. ABG objects to the term

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                          NON-PARTY AVIS BUDGET GROUP'S OBJECTIONS TO SUBPOENA
                  DM_US 181309510-3.085863.0010
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          1   "CONCERNING" as overly broad, unduly burdensome, and vague. ABG is a
          2   holding company and itself does not rent vehicles at or near LAX.
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                                                MCDERMOTT WILL & EMERY LLP
          4   Dated: July 23, 2021
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                                                .±t-  Attomeys_for Non-Party
                                                      AVIS BUDGET GROUP, INC.
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                      NON-PARTY AVIS BUDGET GROUP'S OBJECTIONS TO SUBPOENA
              DM_US 181309510-3.085863.0010
                   Case 1:21-mc-00793-PGG Document 4-11 Filed 10/27/21 Page 11 of 13




              1                                       PROOF OF SERVICE
              2
                             I, Susanne Woods, declare:
              3
                             I am employed in Los Angeles County, California. I am over the age of
              4
                  eighteen years and not a party to the within-entitled action. My business address is
              5
                  2049 Century Park East, Suite 3200, Los Angeles, CA 90067-3206. On July 23,
              6
                  2021, I caused to be served a copy of the within document(s):
              7
                              NON-PARTY AVIS BUDGET GROUP, INC.'S OBJECTIONS TO
              8               SUBPOENA
              9   □          by email via PDF FILE, by transmitting on this date via email, a true and
                             correct copy scanned into an electronic file in Adobe "pdf format. The
             10              transmission was reported as complete and without error.
,            11   IZI        by placing the document(s) listed above in a sealed envelope with postage
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                             thereon fully prepaid, in the United States mail at Los Angeles, California
                             addressed as set forth below.
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£            13                 Michael G. Rhodes
E£                              Matthew D. Brown
s            14                 Benjamin H. Kleine
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2;
                                Alexandra R. Mayhugh
             15                 Cooley LLP
                                3 Embarcadero Center, 20 Floor
             16                 San Francisco, CA 94111-4004
                                rhodesm    coole .com
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             19
                             I am readily familiar with the firm's practice of collection and processing
             20
                  correspondence for mailing. Under that practice it would be deposited with the U.S.
             21
                  Postal Service on that same day with postage thereon fully prepaid in the ordinary
             22
                  course of business. I am aware that on motion of the party served, service is
             23
                  presumed invalid if postal cancellation date or postage meter date is more than one
             24
                  day after date of deposit for mailing in affidavit.
             25
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            Case 1:21-mc-00793-PGG Document 4-11 Filed 10/27/21 Page 12 of 13




       1            I declare that I am employed in the office of a member of the bar of the State
       2   of California at whose direction the service was made.
       3            Executed on July 23, 2021, at Los Angeles, California.
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                                                         Susanne Woods

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                          @@       McDermott Will & Emery LLP
                                  2049 Century Park East, Suite 3200
                                  Los Angeles, CA 90067-3206




                                       Michael G. Rhodes
                                      Matthew D. Brown
                                      Benjamin H. Kleine
                                    Alexandra R. Mayhugh
                                          COOLEY LLP
                               3 Embarcadero Center, 20th Floor
                                 San Francisco, CA 94111-4004




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